          Case: 3:07-cr-00081-WHR Doc #: 1081 Filed: 06/21/24 Page: 1 of 1 PAGEID #: 6672
AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U. S. C. § 3582(c)(2)            Page 1 of2 (Page 2 Not for Public Disclosure)


                                            UNITED STATES DISTRICT COURT
                                                                          for the

                                                           Southern     District of            Ohio

                    United States of America
                                      V.                                     )
                                                                             )    Case No:       3:07CR81-1
                           Daniel Garcia-Guia                                )
                                                                             ) USMNo: 44544-061
Date of Original Judgment:                               09/30/2009          )
Date of PreviousAmended Judgment:                                            )
(Vse Date of Last Amended Judgment if Any)                                        Defendant 's Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                              PURSUANT TO 18 U. S. C. § 3582(c)(2)
          Upon motion of ^ the defendant D the Director ofthe Bureau ofPrisons D the court under 18 U. S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U. S. C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1. 10
andthe sentencingfactors set forth in 18 U. S.C. § 3553(a), to the extentthatthey areapplicable,
IT IS ORDEREDthat the motion is:
          IE] DENIED. D GRANTED and the defendant's previously imposed sentence of imprisonment (asreflected in
the lastjudgmentissued)of                      months is reduced to
                                (See Page2 for additionalparts. Complete Parts I andII ofPage 2 whenmotionis granted)
  Defendantis not eligiblefor a sentencereductionunderAmendment821(A) becausehewasnot assessedtwocriminalhistorypointsunderUSSG
   Section 4Al. l(d).




Except as otherwise provided, all provisions ofthejudgment dated                              09/30/2009             shall remain in effect.
IT IS SO ORDERED.

Order Date:             u -           \-\                                           ^^.^_
                                                                                    o^-v
                                                                                                          Judge 's signature


Effective Date:                                                                        Walter H. Rice, United States District Judge
                        (if different from order date)                                                Printed name and title
